               IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF IOWA
                       CEDAR RAPIDS DIVISION

                                              )
TRACEY K. KUEHL, et al.,
                                              ) Case No. C14-02034-JSS
                                              )
                     Plaintiffs,
                                              )
       v.
                                              ) Notice of Filing of
                                              ) Authenticated Records
PAMELA SELLNER, et al.,
                                              )
                                              )
                      Defendants.
                                              )
                                              )

      On June 2, 2015, this Court granted Plaintiffs’ request for leave to file

authenticated records from the United States Department of Agriculture (USDA)

out of time. Plaintiffs proceeded to file records it had received from the USDA in

response to two requests under the Freedom of Information Act in support of its

Motion for Summary Judgment on June 1 and 2, 2015. Undersigned counsel

received USDA’s authentication of those records as well as copies of the

authenticated records affixed with a green was seal on Thursday, June 11, 2015.

      Undersigned counsel has bate-stamped the authenticated records so that they

match the previously submitted records exactly, except that the following records

are missing from USDA’s authentication without explanation: Doc. 21-7, pages

Ex. 2-0054-0058; 0065; 0075; 0077-0088; and 0102-0103; and Doc. 21-8, pages

0245-0246; 00261; and 0264-0265. Undersigned counsel also advises the Court

that she previously consulted with opposing counsel on May 29, 2015, and both

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parties agreed to the admissibility of inspection and compliance records from the

USDA or Iowa Department of Agriculture and Land Stewardship.

                                      Respectfully submitted,

                                      /s Jessica L. Blome

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                              Verification of Counsel

            I, Jessica L. Blome, am counsel of record, and I certify that the

foregoing is true to the best of my knowledge and belief.

            June 17, 2015                                   /s Jessica L. Blome
            Date                                            Jessica L. Blome




                               Certificate of Service

      I certify that a copy of this Motion was delivered to all counsel of record

through the Court’s electronic case filing system this 17th day of June, 2015.

                                                            /s Jessica L. Blome
                                                            Jessica L. Blome




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